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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.

  RENZO BARBERI,

              Plaintiff,

              vs.

  NADEAU CORPORATION, a Foreign
  Profit Corporation, LRET-PERC LLC, a
  Florida Limited Liability Company, JVR
  INVESTMENTS PERC INC., a Florida
  Profit Corporation, MARJU CORP., a
  Florida Profit Corporation and JORGAR
  CORP., a Florida Profit Corporation,

            Defendants.
  _______________________________/

                                      COMPLAINT

  Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned
  counsel,   hereby   files   this   complaint   and   sues   NADEAU CORPORATION
  (“NADEAU”), LRET-PERC LLC (“LRET-PERC”), MARJU CORP. (“MARJU”), JORGAR
  CORP. (“JORGAR”) and JVR INVESTMENTS PERC INC. (“JVR”) (hereinafter,
  collectively referred to as “Defendants”), for declaratory and injunctive relief;
  for discrimination based on disability; and for the resultant attorney's fees,
  expenses, and costs (including, but not limited to, court costs and expert fees),
  pursuant to 42 U.S.C. §12181 et. seq., ("AMERICANS WITH DISABILITIES
  ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.    This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendants’ violations of Title III of the Americans



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  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE
  2.     The venue of all events giving rise to this lawsuit is located in Miami-
  Dade County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local
  Rules of the United States District Court for the Southern District of Florida,
  this is the designated court for this suit.


  PARTIES
  3.    Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the
  time of Plaintiff’s visit to Nadeau-Furniture With A Soul (“Subject Facility”), Plaintiff
  suffered from a “qualified disability” under the ADA, and required the use of a
  wheelchair for mobility. Specifically, Plaintiff suffers from paraplegia due to a
  severed T4 and T5 and is therefore confined to his wheelchair. Plaintiff
  personally visited Nadeau-Furniture With A Soul, but was denied full and equal
  access, and full and equal enjoyment of the facilities, services, goods, and
  amenities within Nadeau-Furniture With A Soul, which is the subject of this lawsuit.
  The Subject Facility is a furniture store, and Plaintiff wanted to shop for
  furniture, but was unable to due to the discriminatory barriers enumerated in
  Paragraph 15 of this Complaint.


  4.    In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the
  rights of similarly situated disabled persons and is a “tester” for the purpose of
  asserting his civil rights and monitoring, ensuring and determining whether
  places of public accommodation are in compliance with the ADA.


  5.    Defendants, NADEAU, LRET-PERC, MARJU, JORGAR and JVR are authorized
  to conduct business and are in fact conducting business within the State of
  Florida. The Subject Facility is located at 4196 SW 74th Court, Miami, FL 33155.
  Upon information and belief, NADEAU is the lessee and/or operator of the Real

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  Property and therefore held accountable of the violations of the ADA in the
  Subject Facility which is the matter of this suit. Upon information and belief,
  LRET-PERC, MARJU, JORGAR and JVR are the owners and lessors of the Real
  Property where the Subject Facility is located and therefore held accountable for
  the violations of the ADA in the Subject Facility which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.   individuals     with    disabilities   continually     suffer  forms  of
          discrimination,     including:    outright     intentional    exclusion; the
          discriminatory      effects    of     architectural,    transportation,  and

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              communication barriers; failure to make modifications to existing
              facilities and practices; exclusionary qualification standards and
              criteria; segregation, and regulation to lesser services, programs,
              benefits, or other opportunities; and,

          v. the continuing existence of unfair and unnecessary discrimination and
            prejudice denies people with disabilities the opportunity to compete on
            an equal basis and to pursue those opportunities for which this country
            is justifiably famous, and costs the United States billions of dollars in
            unnecessary expenses resulting from dependency and non-productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the   full   and   equal   enjoyment   of   the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation. Nadeau-
  Furniture With A Soul is a place of public accommodation by the fact it is an
  establishment that provides goods/services to the general public, and therefore,
  must comply with the ADA. The Subject Facility is open to the public, its
  operations affect commerce, and it is a sales establishment. See 42 U.S.C. Sec.
  12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public
  accommodation that must comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and

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  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Nadeau-Furniture With A Soul located at 4196 SW 74th
  Court, Miami, FL 33155, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101
  et. seq.; and by failing to remove architectural barriers pursuant to 42 U.S.C.
  §12182(b)(2)(A)(iv).


  12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personally encountered and/or has

  knowledge of:

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           a) The customer parking facility in front (south side) of the furniture showroom

              entrance does not provide a compliant accessible parking space. 2012 ADA

              Standards 502.1

           b) The parking facility has fifteen (15) marked standard spaces and zero (0) non-

              compliant accessible parking spaces. 2012 ADA Standards 208.2

           c) The parking facility does not have the minimum number of compliant accessible

              parking spaces required. One (1) accessible parking space with adjacent access

              aisle is required. 2012 ADA Standards 208.2

           d) The parking facility does not provide directional and informational signage to a

              compliant accessible parking space. 2012 ADA Standards 216.5

           e) There is no compliant access aisle attached to an accessible route serving any

              existing parking space which would allow safe entrance or exit of vehicle for

              accessible persons requiring mobility devices. 2012 ADA Standards 502.2

           f) There are two accessible parking spaces on the west side of building in front of

              another business. The accessible parking spaces are located 190 feet from the

              furniture showroom entrance. These accessible parking spaces are not located

              closest to the main furniture showroom entrance. Parking spaces that serve a

              particular building or facility must be located on the shortest accessible route from

              parking to an accessible main entrance. Where parking serves more than one

              accessible entrance, accessible parking spaces must be dispersed and located on

              the shortest accessible route to the accessible entrances. 2012 ADA Standards

              208.3.1




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           g) Parking access aisles must be part of an accessible route to the building or facility

              entrance. All spaces must be located on an accessible route that is at least 44

              inches wide so that users are not compelled to walk or wheel behind parked

              vehicles except behind his or her own vehicle. 2012 ADA Standards 502.2, 502.3

           h) The main furniture store entrance is non-compliant. It does not have the required

              maneuvering clearances. Maneuvering clearances must extend the full width of

              the doorway and the required latch side or hinge side clearance. The ground

              surface within required maneuvering clearances must comply with Section 302.

              Changes in level are not permitted. 2012 Standards 404.2.4.4

           i) There is currently no existing accessible route to help persons with disabilities

              enter the facility or safely maneuver through the parking area. At least one

              accessible route must be provided within the site from accessible parking spaces

              and accessible passenger loading zones; public streets and sidewalks; and public

              transportation stops to the accessible building or facility entrance they serve. 2012

              ADA Standards 206.2.1

           j) The facility does not provide compliant directional and informational signage to

              an accessible route which would lead to an accessible entrance. Where not all

              entrances comply, compliant entrances must be identified by the International

              Symbol of Accessibility. Directional signs that indicate the location of the nearest

              compliant entrance must be provided at entrances that do not comply. 2012 ADA

              Standards 216.6

  16.   Upon information and belief there are other current violations of the ADA
  at Nadeau-Furniture With A Soul. Only upon full inspection can all violations be
  identified. Accordingly, a complete list of violations will require an on-site

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  inspection by Plaintiff’s representatives pursuant to Rule 34b of the Federal
  Rules of Civil Procedure.


  17.   Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to comply with this mandate.


  19.   The Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facility until the
  requisite modifications are completed.


  REQUEST FOR RELIEF
  WHEREFORE, the Plaintiff demands judgment against the Defendants and
  requests the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated
  and/or controlled by the Defendants is in violation of the ADA;

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  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facility to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;


  23.   That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facility;


  24.   That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; and


  25.   That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.

  Dated this July 13, 2021.


  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No. 10089
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  Hallandale Beach, Florida 33009
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  Attorney for Plaintiff, RENZO BARBERI




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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.

   RENZO BARBERI,

               Plaintiff,

               vs.

   NADEAU CORPORATION, a Foreign
   Profit Corporation, LRET-PERC LLC, a
   Florida Limited Liability Company, JVR
   INVESTMENTS PERC INC., a Florida
   Profit Corporation, MARJU CORP., a
   Florida Profit Corporation and JORGAR
   CORP., a Florida Profit Corporation,

             Defendants.
   _______________________________/

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 13, 2021, I electronically filed the
   Complaint along with a Summons for each Defendant with the Clerk of Court
   using CM/ECF. I also certify that the aforementioned documents are being
   served on all counsel of record, corporations, or pro se parties identified on the
   attached Service List in the manner specified via Service of Process by an
   authorized Process Server, and that all future pleadings, motions and documents
   will be served either via transmission of Notices of Electronic Filing generated
   by CM/ECF or via U.S. Mail for those counsel or parties who are not authorized
   to receive electronically Notices of Electronic Filing.

   By: Ronald E. Stern
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                                     SERVICE LIST:

       RENZO BARBERI, Plaintiff, vs. NADEAU CORPORATION, a Foreign Profit
    Corporation, LRET-PERC LLC, a Florida Limited Liability Company, JVR INVESTMENTS
     PERC INC., a Florida Profit Corporation, MARJU CORP., a Florida Profit Corporation and
                          JORGAR CORP., a Florida Profit Corporation

                United States District Court Southern District of Florida

                                         CASE NO.


   NADEAU CORPORATION

   REGISTERED AGENT:

   PARACORP INCORPORATED
   155 OFFICE PLAZA DRIVE
   1ST FLOOR
   TALLAHASSEE, FL 32301

   VIA PROCESS SERVER


   LRET-PERC LLC

   REGISTERED AGENT:

   HARRIS, ELLIOTT, ESQ
   111 SW 3 STREET 6TH FLOOR
   MIAMI, FL 33130

   VIA PROCESS SERVER

   JORGAR CORP.

   REGISTERED AGENT:

   RESSLER, GARY
   169 E. FLAGLER ST.
   PENTHOUSE
   MIAMI, FL 33131

   VIA PROCESS SERVER




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   JVR INVESTMENTS PERC INC.

   REGISTERED AGENT:

   TILIA MANAGEMENT LLC
   169 EAST FLAGLER STREET
   PENTHOUSE
   MIAMI, FL 33131

   VIA PROCESS SERVER


   MARJU CORP.

   REGISTERED AGENT:

   LINDENFELD, HELENE
   5292 SW 80TH STREET
   MIAMI, FL 33143

   VIA PROCESS SERVER




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